       Case 6:24-cv-06387-EAW             Document 71         Filed 11/25/24     Page 1 of 2




                               UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF NEW YORK

   OLACHI MEZU-NDUBUISI, an Individual                 )
                                                       )
                                    Plaintiff,         ) Case No.: 24-cv-6387-EAW
                         vs.                           )
                                                       )
     UNIVERSITY OF ROCHESTER, et.al.                   )
                                                       )
                                                       )
                                                       )
                                  Defendants.          )



        PLAINTIFF’S NOTICE OF MOTION TO SEAL EXHIBIT AG IN THE
    PLAINTIFF’S MEMORANDUM IN SUPPORT OF RENEWED MOTION FOR A
                       PRELIMINARY INJUNCTION

        Plaintiff, respectfully seeks leave of the court to file this motion to seal Exhibit AG - Dr.

Mezu-Ndubuisi’s September 14, 2024 response to Medical Executive Committee (“MEC”).

PLEASE TAKE NOTICE that upon the Declaration of C. Valerie Ibe, dated November 24, 2024,

attached herein, and memorandum in support of plaintiff’s motion to seal Exhibit AG submitted

in support of her memorandum in support of renewed motion for a preliminary injunction,

plaintiff, Dr. Olachi Mezu-Ndubuisi will move this Court, at a date and time to be set by the

Court, at the Federal Building and Courthouse, 100 State Street, Rochester, New York 14614,

before the Honorable Elizabeth A. Wolford, Chief United States District Judge, for an Order

directing the Clerk of this Court to file this exhibit under seal.


        This is filed pursuant to Rule 5.3 of the Local Rules of Civil Procedure of the United

States District Court for the Western District of New York and the Health Insurance Portability

and Accountability Act of 1996 (HIPAA).



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       Case 6:24-cv-06387-EAW             Document 71        Filed 11/25/24       Page 2 of 2




        As described in the accompanying declaration of plaintiff’s attorney, C. Valerie Ibe, and

memorandum in support of plaintiff’s motion to file Exhibit AG under seal, good cause exists for

this filing as the exhibit sought to be sealed contains private, sensitive, privileged, confidential,

medical data of patients and treatment information and treating professional. They are extremely

relevant to the defendants’ Fair Hearing Process which is the subject matter of the plaintiff’s

renewed motion for preliminary injunction. Placing this document in the public record will not

serve the public interest.


        This application is accompanied by a supporting memorandum, declaration of plaintiff’s

attorney, C. Valerie Ibe and a proposed order.




Dated: November 24, 2024                                   Respectfully Submitted,
                                                         ____/s/C. Valerie Ibe, Esq. ________
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                                                       Tel:818-900-5298
                                                       Attorney for Plaintiff, Dr. Mezu-Ndubuisi

                                                       _ /s/Bruce Fein __________________
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                                                       Admitted Pro hac vice
                                                       Attorney for Plaintiff, Olachi Mezu-
                                                       Ndubuisi




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